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   WELCOME                                                                                                                 



  ABOUT
                                                     Mt.Gox Legal
                                   A C O O P E R AT I V E O F M T. G O X B I T C O I N C R E D I T O R S
  FORUM



  LATEST

     Welcome
  CONTRIBUTE



     This site is for all creditors of the Mt Gox bankruptcy proceedings. We’re coordinating legal action to stop more than
     $2,000,000,000 surplus from going to the people responsible for the exchange when it was hacked, and instead, have
     it shared among creditors who were victims of crime. This is a grass roots co-operative, not a commercial venture.
     This, and adjacent resources, like the member’s forum, and the wiki are created by members, for members.


                                           TO JOIN THE CO-OPERATIVE CLICK HERE


     We are currently over 1000 creditors. Each has contributed $100. We represent an estimated claim size of over
     140kBTC, making us the largest body of creditors. We’ve hired a lawyer from a top-4 Japanese law firm. We have a
     paid administrator employed by this group and a team of 10 volunteers. And we are growing. If you are a Mt Gox
     creditor, please join us to share the costs and the advice of our lawyer.


     Background


     The Bankruptcy Trustee has valued BTC claims at the market price at the time of bankruptcy. In the last months, the
     value has increased significantly. As a result, the bankruptcy trustee now controls more assets than liabilities.


     The trustee proposes to give the excess value to shareholders, (i.e. the people who were in charge when the
     bankruptcy occurred,).


     Unless this decision is legally challenged, the court will follow the trustee’s recommendation.



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     The legal challenge costs money and this website is to coordinate that fundraising and share information that comes
     from our lawyers.


     The priorities for the legal challenge are;


               To obtain a distribution which allows creditors to benefit fully from excess value created by the asset they were
               invested in at the time of bankruptcy.
               Prompting a timely distribution as assets become available.
               To see what assets can be recovered from BTC-e seizure in the US
               To foster a better communication channel with the trustee


     Please note: The advice and legal understanding on this public website is opinion, and does not constitute legal
     advice. For accurate legal advice please consult a lawyer. If you don’t have one, join our group to share in ours.


     Data usage


     We don’t need your ID or any claim details. The only data we need from you is an email address so we can create a
     login for the forum. Many people have created a new email address to use just for this, in order to protect their

     anonymity. Forum IDs are pseudonymous.




       Search …                                                                                            Search




   DISCLAIMER:


   All information and materials have been prepared for general information purposes only to permit you to learn
   about MtGox Bankruptcy. The information presented is not legal advice, is not to be acted on as such, may not

   be current and is subject to change without notice. Communication on this website does not create or constitute
   an attorney-client relationship.



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   PLEASE CONTRIBUTE NOW


   To join the forum contribute $100/£85


      Pay with Card


   To pay for access with crypto, please email crypto@mtgoxlegal.com before making a payment.


   Voluntary donations to our legal fund can be made at the following addresses.


   BTC:


   1MNmbCurt2GFhuqgX3PaTpgtHFkFcKsATN


   XMR:


   4Aeiq35o9FKD8f7Xu87NewLqQu5nPBpG1Xmc8YQxGL8tKawouEdJHxpf91zk6x1zr3bZUqqbEmtqqKZaVjDLNHmtQv

   fbsHZ


   BCH: bitcoincash:qryr7f3hdcauq52nlkk9j8cpnzewtwauds7urqvfcq


   DOGE/Dogecoin: D9a3mERrgYUzz8PJwrDGWuS59fCpeaRCTi


   LTC/Litecoin: LetqymCwAWmsiXhEWttwXepoSoDdYYncnj


   XZC/Zcoin: a2SXwEjF1FDvc5VcFABkeEzqzaqrdFoa38


   ZEC/Zcash : t1bfaazAd4zwHwQ26wW5pZyYvx8fYe9a6Dq


   Dash: XvrAqTnHEEiDgaKd4iFuMDu4zivocwchi9



   RECENT POSTS



   Fundraising – Feb 2019


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   February News


   Missed the filing deadline?


   Another creditors meeting


   Self-Admission – Zombie Claims




   ARCHIVES



    February 2019


    November 2018


    October 2018


    August 2018


    July 2018


    May 2018


    April 2018


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